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THE FALKIRK CEHTER

THE FALKIRK CENTER FOR FAITH & LIBERTY

 

Relearning the promise of the American Constitution
and its Christian worldview foundation, to declare

and keep it alive in our generation. en

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Mission: To provide a completeducational, motivational, and support system for the purpose of
helping the Christian American citizen live the best life, the life as Christ has called upon us to live,
wherein by embracing both Scripture and American Constitutional principles, they can
comfortably apply and defend their belief system as it intersects with areas of public policy.

Concept Description: A center of Liberty University, that will become the central thought leader
of the Christian Conservative movement, teaching moderate conservative ideas consistent with,
and inspired by, Jesus Christ.

The need: Christian values and teachings have been misappropriated and corrupted by
contemporary liberals in order to justify collective government contro! over human action and
forced redistribution from one to another citing “moral obligation” and “social justice.” Many of
these people have little or no actual ties to the Christian faith. The Democratic platform for
example has stripped almost all God language from their purely secular stance. Christian
Americans need to reclaim their rightful position and rise to shoulder the responsibility of the
Great Commission, through living, acting, and voting in a manner consistent with the teaching and
principles and commands of God in Jesus Christ.

Benefit to Liberty University: Expand the reach of Liberty’s mission and values from tens of
thousands of graduates, to tens of millions of citizens. This will attract donor funding and media
exposure, while creating a platform from which public policy can be meaningfully transformed to
freedom away from central control. $300 million in media estimated in next two years. Potential
exists for as much as $2 million in small donations from over 50,000 new donors through the end
of 2020.
 

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WE BELIEVE

As AMERICANS — Citizens of the United States of America

e We believe that the American people live in the greatest country on earth.

® We believe that the vision of our Founders was rooted in the central principle that our
Rights as a people derive from God and not from government.

e We believe that, while not perfect at our founding, our Declaration of Independence, our
Constitution, and our Bill of Rights were the highest expression of our Founders’
commitment to the unalienable rights of Life, Liberty, and the Pursuit of Happiness for all
Americans.

e We believe that these founding principles were animated by the profound vision and
sacrifice of our first generation of American citizens and have been preserved by the
sacrifice of every generation of American citizens since that time.

e We believe that because of this vision and sacrifice that Americans enjoy the greatest
freedoms in the world and that our example is a beacon of freedom across the globe —
indeed a Shining City on a Hill.

e We believe that as citizens we have a duty to continue to preserve and promote these
American values through civic engagement in representative government and in the public
square.
 

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As CHRISTIANS — Citizens of the Kingdom of Jesus Christ

e THE APOSTLES CREED

| believe in God, the Father almighty,

creator of heaven and earth.

| believe in Jesus Christ, his only Son, our Lord.
He was conceived by the power of the Holy Spirit
and born of the virgin Mary.

He suffered under Pontius Pilate,

was crucified, died, and was buried.

He descended to the dead.

On the third day he rose again.

He ascended into heaven,

and is seated at the right hand of the Father.

He will come again to judge the living and the dead.
| believe in the Holy Spirit,

the holy catholic Church,

the communion of the saints,

the forgiveness of sins,

the resurrection of the body,

and the life everlasting. Amen.

The Apostles’ Creed, though not written by the apostles, is the oldest creed of the Christian church
and is the basis for others that followed. In its oldest form, the Apostles’ Creed goes back to at
least 140 A.D. Many of the early church leaders summed up their beliefs as they had an
opportunity to stand for their faith—see, for example, 1 Timothy 6:12. These statements
developed into a more standard form to express one’s confession of faith at the time of baptism. It
is not Scripture, but it is a simple list of the great doctrines of the faith.

The word “catholic” means “relating to the church universal” and was the word used in the
original version of the Creed. It does not mean the Roman Catholic Church, but the church, the
body of Christ, as a universal fellowship. The phrase, “He descended into hell,” was not part of the
creed in its earliest form. (Source: Billy Graham Evangelistic Association)
 

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e Faith in Jesus Christ as our Lord and Savior and belief in America’s founders as having had
the wisdom, faith, and grace of The Lord with them in their work. “And having arrived, and
having brought together the assembly, they related to them all that God had done with
them, and that he had opened a door of faith to the nations.” Acts 14:27

e Inspiration that Christ’s calling to us requires more than quiet personal reflection but
imposes a duty upon us to act. “Therefore go and make disciples of all nations, baptizing
them in the name of the Father and of the Son and of the Holy Spirit, 9 and teaching them
to obey everything | have commanded you. And surely I am with you always, to the very
end of the age.” Matthew 28:19-20

e Atonement for those acts as a nation for which we citizens have been responsible. They
require correction and will then call for the exercising of duty and personal sacrifice. “And
seeing their faith, he said, Man, thy sins are forgiven thee.” Luke 5:20

® Holiness in welcoming and receiving the Holy Spirit and allowing His guidance as we reach
out to all Americans. “...for he was a good man, and full of the Holy Spirit and of faith .
And considerable numbers were brought to the Lord.” (Acts 11:24)

*® Reason Love the Lord thy God with all thy Mind...

® History! am the apha and the omega. In the beginning, God said let there be.....

e Justice Do Justice, Love Mercy, Walk Hurmbly with your God

e Courage [f you have the faith of a mustard seed, you can say move, and it will move.

e Love The Law is summarized in this — Love the Lord your God and neighbor as thyself.
 

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FELLOWS-SCHOLARS NEWSLETTER PASTORS & POLITICS

 

1. DEVELOP a team of 5-7 Fellows-Scholars who will publish regular commentary (print,
online, TV, and radio) consistent with the goals of the Center. LAUNCH numerous digital
social media and conventional citizen engagement activities to build community and help

to create a unified voice

2. PUBLISH (print and online) a monthly newsletter with articles by the Fellows and guest
contributors, focused on promoting and encouraging Christian civic engagement.

3, HOST a Pastors & Politics in summer 2019 and summer 2020, to inform and invigorate
them (and their congregation members) to participate in the policy and election process.

ON HOLD DURING INITIAL 18 MONTHS: ESTABLISH an “embassy” for the Center, on
Capitol Hill, to influence elected officials and policy makers.
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TIMELINE

 

FIRST 50 DAYS

Concept approval

Formation of Advisory Board

Memo of Understanding written
Preparation for Pastors & Pews retreat

Preparation for Fellows-Scholars Influencers retreat

AUGUST 8-10

Pastors & Pews event on evening of Thursday August 8 through Noon of Friday August 9
Fellows-Scholars recruitment retreat Friday and Saturday, August 9-10.

Liberty University funds this weekend at a maximum cost of $300,000.

Robert Hurt and Scott Lamb take point on pulling together LU teams for logistical support.

MONDAY AFTERNOON AUGUST 12

Kirk presents to Falwell and advisory board the outcome of the recruitment retreat.
Kirk presents finalized “Memo of Understanding” as drafted by Corry, Kirk, and Advisory
Board.

Time to decide: Proceed, or disband?

 
 

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ADVISORY BOARD

    

axl

Robert Hurt | David Brat | ScottLamb | Larry Provost

Also, David Corry and his legal team will be ready to offer counsel.

 
 

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BUDGET

WHAT YOU SEE BELOW IS NOT NOT NOT the BUDGET WE ARE PROPOSING!!!

FIRST 18 MONTHS ANNUALIZED MONTHLY
PROPOSED ACTIVITIES
1 FELLOWS-SCHOLARS
Compensation $600,000 $400,000 $33,333.33

    

  
  

    

  

2 NEWSLETTER
Editors / design / printing & age $3,333,333 S277, 777.78
3 PASTORS & POLITICS
2019 Pastors & P treat @LU (200 pastors & wives / August 8-9) $200,000 $133,333
2020 Pastors & Po etreat @LU (1,000 pastors & w $800,000 $533,333
4 CITIZEN ENGAGEMENT
Digital costs, ng Facebook crowd-building $600,000 $400,000 $33,333.33
Polling (5 qu ith) $270,000 $180,000 $15,000.00

DISTRIBUTED COSTS

Kirk-TPUSA LLC infrastructure

  

Misc. (legal, etc.)
Start up costs / con

  
 

it expenses
External PR support / TV booker
Travel

2-3 ful

 

LU employees compensation

   

TOTAL $9,120,000 $6,080,000

 

5 EMBASSY

bassy” owned by Liberty U* $4,000,000 $2,666,667 $999.992.99

 

6 JOHN SOLOMON MEDIA INTEGRITY & NEUTRALITY

Polling (5 questions / month)

 
 

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2)

3)

4)

5)

6)

8)

9)

DELIVERABLES
PROPOSED BY CHARLIE KIRK

At least one weekly TV interview reaching millions of people with one of the
influencers/fellows

The creation of a podcast the will reach tens of thousands of listeners weekly also
advertising LibertyU

The creation of a small dollar donor file with a stated goal of 100,000 donors by December
2020 to LibertyU

The creation of a weekly video that will be posted on influencers pages and social media
account. Target is to reach 100,000,000 with these videos by December 2020 online

At least two published works in mainstream publications a week by Center fellows
A active membership list of 1,000,000 recipients of the "Imprimus” equivalent

Goal by December 2020 to have the newsletter revenue neutral. To be raising at least
enough in return to cover the cost of mailing and production.

Over 10,000,000 people reached weekly via influencer and fellows on social media through
their channels promoting the core ideas of the center and created works.

At least 3 radio interviews a week with influencers promoting the center and core
issues/ideas.

10) In October 2020 1,000+ pastors give a sermon on "Why Christians should vote and how

should they vote?" - These pastors would be trained in the summer of 2020 with the direct
call to action to make sure they give a consequential sermon in the fall of 2020 to offer
direction to Christians looking for it.

11) The earned media for this center and Liberty University will be hundreds of millions of

dollars of free media. Through influencer marketing, traditional media, and a strong earned
media strategy this will further elevate Liberty's name in the eye of the American people
and in the political conversation in 2020.

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Gotcha. Thanks Ron.

Scott Lamb
Senior Vice President of University Communications

From: Kennedy, Ron (Enrollment Management) <rkennedy@liberty.edu>
Sent: Friday, June 14, 2019 4:06 PM

To: Corry, David M (Legal Affairs) <dcorry@liberty.edu>

Cc: Lamb, Scott <scottlamb@liberty.edu>; Applewhite, Dan (Legal Affairs)
<tdapplewhite@liberty.edu>

Subject: Re: Already agreed upon with Charlie Kirk?

We do not Scott.
We are doing 2 events for 10k as a sponsor....already committed.

His influencer price was to high. | sent back a counter about 3-4 weeks ago but they have not
responded

Sent from my iPhone

On Jun 14, 2019, at 4:00 PM, Corry, David M (Legal Affairs) <dcorry@liberty.edu> wrote:

I’m adding Dan Applewhite to this string.

David M. Corry
General Counsel

From: Lamb, Scott <scottlamb@liberty.edu>
Sent: Friday, June 14, 2019 3:10 PM

To: Kennedy, Ron (Enrollment Management) <rkennedy@liberty.edu>
Cc: Corry, David M (Legal Affairs) <dcorry@liberty.edu>
Subject: Already agreed upon with Charlie Kirk?

Ron: Do you and Charlie already have something agreed upon for him to do influencer marketing?

Scott Lamb
Senior Vice President of University Communications

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CONNECT WITH REAGAN INSTITUTE?

What we want is a memorandum of understanding.

This is what liberty's doing, this is what Charlie's doing. Basically, Jerry just wants a lot more details like a
business plan before he considers it to be fully committed to liberty.

He doesn’t yet consider it to be a fully committed thing. The second thing is just in the one aspect of the
embassy, he wants us to consider getting a one or two year lease somewhere and just
dipping our toes in the water before we just plunge in with the $5 million thing or $4
million, which is no big deal. | mean, you know, if you can skin a cat some other way.
There's obviously pros and cons, you know, if you just make a big splash and [crosstalk
00:02:42]

Scott: Yeah. Okay, and anything that you want to say put it in writing and email me from your
own lips that ties in what Jerry always says about the anti socialism part and how Jesus
wouldn't have been a socialist. How the liberals are turning Jesus into a socialist.

Scott: Yeah, he really wants that to be a major piece of DNA in this thing. If you want to put some
Charlie Kirk words in an email or something, it doesn't have to be the finished product, but
just send me how you would phrase that because he really wants that to be in there.

Charlie: | would love to. Two quick things just so I'm clear on this. | need to prove the concept in an
incubator sense with the influencer thing, which I'm happy to do. Totally get it.

Charlie: Okay, and so is liberty agreed to cover the expense of at least the influencer retreat?

Scott: That's correct. The document that we'll have in front of him will say the deliverable thing of
August, there'll be deliverables after August if August works, but the deliverable for August
takes our funding. We'll fund that and this is what we're looking to do on that weekend. By
Monday or Tuesday we will have some analysis of how it went and then make our decision
about the next literally, | guess at that point, 18 months or whatever.

Charlie: Well that makes sense. That makes sense. Then is it okay that for the two months of work
we'd be putting into it that | would be paid for those twe months leading up to August? Or
would ... [crosstalk 00:09:37]

Scott: Tell me your figure there.

Charlie: Well, again, I'm very flexible. | mean the number | put in the document would be, | think
once is just fully operational. But if we could do, | don't know, 15,000 a month for two

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Scott:

Charlie:

Charlie:

months? | could go lower. Again, | want to make this work so I don't want the numbers to
be, you know ... [crosstalk 00:09:57]

Well, help me understand, though. I'm not, | don't care about where the dollars go to be
honest, but help me understand. We've got ... [crosstalk 00:10:11]

I'm leaning on my whole network and kind of going on a, you know, hey, you guys got to
come do this and come out planning essentially the entire retreat. For once that you guys,
but the curriculum, the breakout was a lot of logistics and also going through the
persuasion of getting, you know, just keep to 20 or 20 to 25 personalities out to Lynchburg
in August.

Well, | can help that. | mean I've built turning point. We have about 41,000 active donors
on file and we're on pace to get a million by November of 2020 through a lot of direct mail
and a lot of small dollar digital. Not that I'm an expert, but | know more than most.

harlie: 1 think maybe | didn't articulate that as well as | should have, but | was trying to make the argument
that this mailer, the iPrimus equivalent is not just good for the ideas, but | think there is a, you know, | think
there'd be a revenue side of it for liberty as well.

Scott:

Charlie:

Scott:

| agree with you on that. it just has to be built out, which means Jerry has to say okay, if
we're doing this here's one return on investment. Jerry, you got to remember, you know,
this is Scott talking, Jerry, you got to remember we don't even have the staffing to
accomplish that return on investment. If we're going to do this, we also need to go walk
down the hail to development and tell them, hey, you know fellows bring on three or four
more people cause we got some action coming your way. It's kind of a bigger conversation.

Ahead of August, if it's akay with you too Scott, | will continue te at least once a week
produce some of the sample intellectual material that this ... | have a lot of work to do. |
have this influencer thing that | have to design kind of the agenda, you know, the
curriculum sample things for people to read. But | also want Jerry to get a bigger, a better
taste. Kind of the tone and the type of material, the scholarly work that will be done, if that
makes sense.

It does, and you need to work with John Solomon and maybe a few of your more grey
haired folks that are, maybe on the advisory board of TP USA and say, "Hey, we need a few,
not 10 or something like that, but we need two, maybe three of the Victor Davis Hanson
types. | mean people with some earned doctorate who aren't going to, you know... | mean
we realize that there’s pros and cons to a six year old with no social media presence who
can write incredibly brilliant things ...

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Charlie:

Scott:

Charlie:

Scott:

Scott:

Scott:

Scott:

Charlie:

Scott:

Charlie:

Scott:

That have no interest in social media, either.

Right, right. He obviously has some strengths and weaknesses, but the strength of course is
we got somebody in there. That's coming from Dave Brad. Dave Brad said, "Hey listen, we
don't want to hamstring the younger ones who are full of the ability to actually create
movement and social media buzz. On the other hand, somebody needs to be there that
says, you know, I've read about 10,000 books in my lifetime and you guys are just going off
on the wrong direction, you know, intellectually and ..." [crosstalk 00:16:19]

| think | have a couple of those guys that I'm going to have come to the retreat that | think
can counterbalance just some of the lack of intellectual whatever.

Yeah, and it's not about the brains, it’s just, you know, when a fellow's done some serious
study and something, you know, like a Victor Davis Hanson. He's got credibility because of
that earned doctorate that | don't have, myself.

Okay, sounds like we're on the same page there. Listen, the John Solomon journalism piece
and polling is going to be coming in parallel but separate from this but, but definitely
parallel. Then we were on the phone last week with his polling and there's a piece of polling
that we're gonna bring into this, which 50% of it you can use and 50% of it John can use.

In other words, there’s monthly polling that is driven by your questions and 50% of it's
driven by John's questions. That kind of goes in with that. But John’s needs to be kept kind
of separate just cause he's building it out, you know, in the same way that you're building
this out. Obviously, they overlap all over the place and have some shared resources.

Okay, great. We're still going to partner with David Lane in August and potentially next year
so we can plan all that. That's built into this thing for August, but ... [crosstalk 00:17:47]

All right, well we will begin getting invites together and working with you on that. | have to
work very hard on the logistics because these people have obviously busy calendars and
stuff. I'm going to make it a compelling argument that it's very much worth their time to
come out.

Okay, well I'm going to work that maybe by Wednesday or Thursday at the latest Jerry has
put his name on this next 50 days leading into August thing so that we can coordinate with
our logistics guys here at liberty. And firmly know that we're headed forward for August.
Okay?

Great. Thanks so much, Scott.

Charlie, I'm 100% on board with this. I'm excited and I'm looking forward to, you know,
getting on the other side of this. [crosstalk 00:18:31]

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Charlie: [crosstalk 00:18:31)... there's terrific potential. Really does,
Scott: Hey, thanks for jumping on the call. Appreciate it.
Charlie: All right. Bye, bye,

Fellows/ Retreat attendees:

Allie Stuckey

Michael Knowles

David Harrts JR

Sara Carter

Lawrence Reed

Charlotte Pence

Lila Rose

Sebastian Gorka

Katie Pavlich

Graham Allen

Matt Walsh

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